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                             IJNITED STATES DISTR ICT CO URT
                             SO UTH ERN DISTR ICT OF FLOR IDA

                        CA SE N O.16-20345-CR-M O OM N cALILEY(s)
                                          18U.S.C.j1590
                                          18U.S.C.j 1594(d)
                                          18U.S.C.j981(a)(1)(C)
    UNITED STATES O F AM ERICA
                                                                     FILED by            D.C.
    V:.
                                                                         sEP 13 2215
    JEFFREY JASON CO O PER ,                                           STEVEN M .LARI M ORE
         a/k/a <iD r.Janardana Dasa,''                                 CLERK U S, IJIS-I:CT
                                                                                .

         a/k/a O anardana,''                                            @.D.ofFLAz.z-M..1ê.M1
         a/k/a RJay,''

           Defendant.


                                SUPER SED ING INFORM ATION

           The United StatesAttorney chargesthat:

                                          CO UNTS 1-2
      Traffk king w ith Respectto Peonage,Slavelw Involuntary Servitude,and Forced Labor
                                       (18U.S.C.j1590(a))
           From on oraboutM ay 12,2011,and continuing through on oraboutA ugust4,2011,in

    M iam i-DadeCounty,in the Southern D istrictofFlorida,and elsew here,the defendant,

                                   JEFFR EY JASON CO OPER,
                                    a/k/a HD r.Janardana D asa,''
                                         a/lk/a Klanardana,''
                                              a/k/a Glay ''

    did know ingly recruit,harbor,transport,provide,and obtain by any means a person forlaborand

    services in violation ofChapter77 ofTitle 18,United StatesCode,thatis,in violation ofTitle 18,

    United StatesCode,Section l589(a)(4),asspecified astoeachCountbelow:
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     Count                                             Victim

     1                                                 Victim l

     2                                                 Victim 2


           lnviolationofTitle18,United StatesCode,Sections1590(a).
                            CRIM IN AI,FO R FEITURE ALLEGA TION S

                   The allegations of this Inform ation are re-alleged and by this reference fully

    incorporated herein forthe purposeofalleging crim inalforfeitureto the United StatesofA merica

    ofcertain property in which the defendant,JEFFREY JASON CO OPER,hasan interest.

                   Uponconviction ofaviolation ofTitle 18,UnitedStatesCode,Section 1590(a),as
    alleged in Counts 1through 2 ofthis Inform ation,the defendantshallforfeitto the United States

    ofAmerica,pursuantto Title 18,United StatesCode,Section 1594(d),allofhisright,title,and
    interestin the follow ing'
                             .

                          Any property,realorpersonal,used orintended to be used to com m itorto

    facilitate the com m ission ofsuch violation'
                                                ,and

                   b.     Any property, real or personal, which constitutes or is derived from

    proceedstraceable to such a violation.

           A11pursuanttoTitle 18,United StatesCode,Section98l(a)(1)(C)and theproceduresset
Case 1:16-cr-20345-KMM Document 43 Entered on FLSD Docket 09/13/2016 Page 3 of 6




    forth in Title 2l,U nited States Code, Section 853,m ade applicable by Title 28,United States

    Code,Section2461(c).


      t                ,k-;o'
                            k.-y
    W IFREDO
        e'   A . FERRER     N
    UNITED STATES ATTORN EY



    SETH M .SCHLESSW GER
    A SSISTAN T  ITED STA TES ATTORN EY
                          t/@@''   '
                                           '' r7
       '
               ?              --           ,  .
                                                '
      z'   ,             --

         HEW T.GRAD Y
    TRIAL ATTORN EY - CIV IL RIGHTS D l             N
 Case 1:16-cr-20345-KMM Document 43 Entered on FLSD Docket 09/13/2016 Page 4 of 6
                                            UN ITED STATES DISTR ICT CO URT
                                            SOU TH ERN DISTR IC T O F FLO RIDA


UNITED STA TES O F A M ERICA                            CA SE NO .:16-20345-CR-M O O REfsà
Vs.
                                                             CER TIFIC ATE O F TR IAL A TTO R NEY*
JEFFREY JA SO N CO O PER,
           Defendant.
                                                     SupersedingC ase Inform ation:
CourtDivision:(selectOnel                            New Defendantts)                 Yes           No X
                                                     Num berofNew Defendants
      X    h4iané                  Key W est         Totalnumberofcounts
            FTL                    W PB
          FTP
          Idohereby certifythat:
                    Ihavecarefullyconsidered theallggationsoftheindictment,thenumberofdefendants,thenumberofprobable
                    witnessesandthelegalcomplexitlesofthe Indictment/lnformation attachedhereto.
                    Iam aware thatthelnformation supplied on thisstatementwillbe relied upon by theJudgesofthisCourtin
                    settingtheircalendarsandschedulingcrim inaltrialsunderthem andateoftheSpeedyTrialAct,Title28U .S.C.
                    Section 3161.
                    lnterpretcr:     (YesorNo)       No
                    Listlanguageand/ordialect
                    Thiscasew111take        0       ays orthepartiestotry.
                    Pleasecheckappropriatecategoryandtypeofoffenselistedbelow :
                    (Checkonlyone)                          (Checkonlyone)
           1.       0 to 5 days             X               Petty
           II.      6 to 10 days                            M inor
           111.     11to 20 days                            M isdem eanor
           IV.      21 to 60 days                           Felony             X
           V.       61daysorover

          6.        HasthiscasebeenpreviouslyGledinthisDistrictCourt? (YesorNo)             No
          Ifyes:
          Judge:                                              CaseNo.:
                 tAttac copyo lsposltlveorder)
          Hasacomplaintbeenfiledinthismatter? (YesorNo)                            Yes
          lfyes:
          M agistrateCaseN o.                         16-M J-2586-W CT
          Related M iscellaneousnumbers:
          Defendantts)infederalcustodyasof           05/04/2016                                                 .
          Defendantts)instatecpstodyasof
          Rule20 from theDistnctof
          lsthisapotentialdeathpenaltycase?(YesorNo)              No
                    D oesthiscaseoriginate from am atterpending intheNorthern Region oftheU .S.Attorney'sOfficepriorto
                    October14,2003?
                           Yes          X No
          8.        Doesthiscase originatefrom a matterpending in the CentralRegion ofthe U.S.Attorney'sOftice priorto
                    September 1,2007?
                           Yes          X       No


                                                            SETH M TSCH LESSIN GER
                                                            A SSISTANT U NITED STATES ATTORNEY
                                                            Florida BarN o.:064065




*penaltySheetts)attached                                                                            REV4/8/08
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                           UN ITED STA TES DISTR IC T C O U R T
                           SO U TH ER N DISTR ICT O F FLO RID A

                                      PEN A LTY SHEET

  Defendant's N am e:JEFFREY JA SON CO OPER

  CaseNo: 16-20345-CR-M OORE(s)

  Counts 1-2:

  Trafficking with Respectto Peonage,Slavery.Involuntary Servitude.and Forced Labor

  Title 18,United States Code.Section 1590

  *M ax.Penalty:Twenty(20)Years'lmprisonment
  * M in.Penalty:N one




   *R efersonly to possible term ofincarceration,does not include possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
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AO 455(Rev.01/09)WaiverofanIndictment

                                U NITED STATES D ISTRICT C OURT
                                                    forthe
                                          Southern DistrictofFlorida

               United StatesofAmerica                 )
                           V.                         )     CaseNo. 16-CR-20345-KMM(s)
                Je#rey JasonCooper,                   )
                                                      )
                                                      )

                                        W AIVER OF AN INDICTM ENT

       Iunderstandthatlhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
year. lwmsadvised in open courtofmy rightsand the natureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,lwaivemy rightto prosecutionby indictmentand consentto prosecution by
information.




                                                                        Signatureofde#ndant'
                                                                                           sattorney




                                                                Hon.ChrisM .McAli
                                                                                lev,U.S.Magistrate Judge
                                                                         Judge'
                                                                              sprintednameand title
